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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION


                                                       )
RICHARD JORDAN and RICKY CHASE,                        )
                                                       )
                      Plaintiffs,                      )
                                                       )
THOMAS EDWIN LODEN, Jr.,                               )
ROGER THORSON, and                                     )
ROBERT SIMON,                                          )
                                                       )
                      Intervenors,                     )
                                                       )
v.                                                     )   Civil Action No. 3:15-cv-00295
                                                       )
PELICIA HALL, Commissioner,                            )
Mississippi Department of Corrections, in              )
her Official Capacity, et al.                          )
                                                       )
                      Defendants.                      )
                                                       )
                                                       )

                      PLAINTIFFS’ UNOPPOSED MOTION
                    FOR CONTINUANCE OF TRIAL SETTING
       PLAINTIFFS, Richard Jordan and Ricky Chase, by and through their counsel of record,

seek a continuance of the current trial date of August 27, 2018, until after the United States

Supreme Court issues its decision in Bucklew v. Precythe, No. 17-8151, in which the Supreme

Court added an additional Question Presented: “whether petitioner met his burden under Glossip

v. Gross, 576 U.S. ___ (2015), to prove what procedures would be used to administer his proposed

alternative method of execution, the severity and duration of pain likely to be produced, and how

they compare to the State’s method of execution.” Defendants do not oppose the relief sought

in this Motion. All Intervenors join in this Motion.



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       Plaintiffs believe that it would be a waste of judicial resources to conduct the trial of this

case prior to receiving the guidance of the Supreme Court regarding one of the most heavily

contested issues that the Court will be required to decide, namely what constitutes the requisite

showing that an alternative is known, available, and will reduce the risks posed by an intended

method of execution.

       For the reasons set forth in more detail in the memorandum in support of this Motion,

Plaintiffs request that this Court enter its Order continuing the current trial date.

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that this Court

continue the August 27, 2018 trial setting for a date to be determined by this Court after the

Supreme Court releases its ruling in Bucklew.

                                               Respectfully submitted,

                                               /s/ James W. Craig________________
                                               James W. Craig, MSB # 7798
                                               Emily M. Washington (pro hac vice)
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Dated: July 12, 2018




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                                  CERTIFICATE OF SERVICE

       I hereby certify that I have filed this pleading with the Electronic Case Filing System of

the United States District Court for the Southern District of Mississippi and have thereby served

all counsel of record for the Defendants and Intervenors in this case.

       This, the 12th day of July, 2018.




                                              /s/James W. Craig




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